                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK


 HAITIAN EVANGELICAL CLERGY
 ASSOCIATION; SERVICE EMPLOYEES
 INTERNATIONAL UNION – LOCAL
 32BJ; SABINA BADIO FLORIAL;                         Case No. 1:25-cv-01464-BMC
 YOUDELAINE DORCIN; ROBERT
 JEAN ALIX ERINAC; RACHELLE
 GUIRAND; DIEU YOLNICK JEUNE
 CADET; AUDOINE AMAZAN; GERALD
 MICHAUD; NADEGE JOSEPH
 MICHAUD; and MARIE WILDRIGUE                        NOTICE OF MOTION FOR
 ERINAC MIOT,                                        PARTIAL SUMMARY JUDGMENT
                                Plaintiffs,
                        v.
                                                     ORAL ARGUMENT REQUESTED
 DONALD J. TRUMP, President of the
 United States of America; UNITED
 STATES OF AMERICA; THE
 DEPARTMENT OF HOMELAND
 SECURITY; and KRISTI NOEM,
 Secretary of Homeland Security,
                                Defendants.


       PLEASE TAKE NOTICE that on March 25, 2025, at 9:30 a.m., or as soon thereafter as the

matter may be heard, at 225 Cadman Plaza East, Brooklyn, New York 11201, Plaintiffs will, pursuant to

Federal Rule of Civil Procedure 56, move this Court, the Hon. Brian M. Cogan, U.S.D.J., for summary

judgment on their claim that the Secretary of Homeland Security’s February 24, 2025, “partial vacatur”

of Haiti’s Temporary Protected Status designation under 8 U.S.C. § 1254a is “in excess of statutory …

authority” and must therefore be “held unlawful and set aside” under 5 U.S.C. § 706(2). In support their

motion, Plaintiffs submit contemporaneously with this notice: (1) their Memorandum of Law dated
March 24, 2025; (2) the Declaration of Marie Wildrigue Erinac Miot dated March 11, 2025; and (3) the

Declaration of Youdelaine Dorcin dated March 12, 2025.

Dated: March 24, 2025                                 Respectfully submitted,

                                                      /s/ Andrew Tauber
                                                      Andrew Tauber

    Ira J. Kurzban                                    Andrew E. Tauber
    Kevin Gregg*                                      Sarah Levine Hartley*
    KURZBAN, KURZBAN, TETZELI & PRATT, P.A.           BRYAN CAVE LEIGHTON PAISNER, LLP
    131 Madeira Ave.                                  1155 F Street NW, Ste. 700
    Coral Gables, FL 33134                            Washington, DC 20004
    (305) 444-0060                                    (202) 508-6200
    ira@kktplaw.com                                   andrew.tauber@bclplaw.com
    kgregg@kktplaw.com                                sarah.hartley@bclplaw.com

    Sejal Zota                                        Geoffrey M. Pipoly*
    Daniel Werner*                                    Alexa Thein*
    Dinesh McCoy*                                     Madisen Hursey*
    JUST FUTURES LAW                                  BRYAN CAVE LEIGHTON PAISNER, LLP
    1629 K Street NW, Suite 300                       161 N. Clark Street, Ste. 4300
    Washington, DC 20006                              Chicago, IL 60601
    (617) 812-2822                                    (312) 602-5000
    sejal@justfutureslaw.org                          geoff.pipoly@bclplaw.com
    dinesh@justfutureslaw.org                         alexa.thein@bclplaw.com
    daniel@justfutureslaw.org                         madisen.hursey@bclplaw.com

    Raymond Audain
    GISKAN SOLOTAROFF & ANDERSON LLP         *PHV application forthcoming
    90 Broad Street, 2nd Floor
    New York, NY 10004
    (212) 847-8315
    raudain@gslawny.com
                                 Attorneys for Plaintiffs




                                                  2
